Case 2:21-cv-02308-JTF-atc Document 54 Filed 10/05/21 Page 1 of 13            PageID 328




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                            WESTERN DIVISION

                                         :
 AMISUB (SFH), INC. d/b/a SAINT          :
 FRANCIS HOSPITAL and SAINT              :
 FRANCIS HOSPITAL – BARTLETT, INC., :
                                         :   Case No. 2:21-cv-02308-JTF-atc
                             Plaintiffs, :
                                         :
                   v.                    :   JURY DEMAND
                                         :
 CIGNA HEALTH AND LIFE INSURANCE :
 COMPANY,                                :
                                         :
                             Defendant. :
                                         :

           CIGNA’S REPLY IN SUPPORT OF ITS MOTION TO DISMISS
 Case 2:21-cv-02308-JTF-atc Document 54 Filed 10/05/21 Page 2 of 13                            PageID 329




            Plaintiffs’ opposition to Cigna’s Rule 12 motion offers no reason why the Court should not

     dismiss each count in Plaintiffs’ complaint.1 First, Plaintiffs cannot justify their failure to identify

     the healthcare claims at issue—in contravention of clear instructions by courts in these types of

     cases that healthcare providers like Plaintiffs must provide basic details about the claims that

     underlie their suit—which warrants the dismissal of Plaintiffs’ entire complaint. Second, ERISA

     preempts Plaintiffs’ state law claims; Rutledge does not change that, and in fact, the Supreme Court

     made clear that Plaintiffs’ contorted reading of its decision is incorrect. Third, Plaintiffs’ unjust

     enrichment and quantum meruit claims fail because healthcare providers do not confer a benefit

     upon insurers by providing services to insureds, and Plaintiffs cannot ignore squarely applicable

     law to the contrary. Fourth, Plaintiffs’ breach of implied-in-fact contract claim fails because it is

     based on a prior expired contract between the parties, which courts have repeatedly found cannot

     imply a new subsequent contract. (D.E. 26, Pls.’ Opp. to Cigna’s Br. (“Opp.”) at 17; D.E. 1, Pls.’

     Complaint (“Compl.”) ¶ 63.) Lastly, Plaintiffs’ request for declaratory judgment should be

     dismissed because Plaintiffs have no response to the reality that the Court will need to conduct a

     case-by-case analysis of any of their future claims to determine whether the relief that Plaintiffs

     seek would be warranted.

                                                 ARGUMENT

I.       PLAINTIFF FAILED TO PLEAD THEIR CLAIMS WITH SUFFICIENT DETAIL.

            Plaintiffs argue that Cigna’s request for claim-specific information amounts to an

     unreasonable demand for an “extraordinary degree of specificity.” (Opp. at 4.) There is nothing

     extraordinary about requiring Plaintiffs to identify the claims that they assert are underpaid. This




     1
       Unless otherwise noted, all defined terms have the meanings provided in Cigna’s opening brief
     (“Br.”), all emphasis is added, and all internal citations and quotations omitted.

                                                        1
Case 2:21-cv-02308-JTF-atc Document 54 Filed 10/05/21 Page 3 of 13                     PageID 330




basic information should include the specific claims at issue; the patients, services, and dates of

treatment at issue; the insurance policies covering those claims; and which claims are governed by

ERISA. (Br. at 6.) Such information is necessary to provide Cigna with sufficient notice under

Rules 8 and 10, including to determine: (1) whether each of Plaintiffs’ many different services was

emergent considering the patient’s condition; (2) whether any services were denied; (3) whether

the amount Cigna paid on each claim complied with Tennessee law; and (4) which of the claims

asserted by Plaintiffs are governed by ERISA plans and therefore preempted by ERISA. As much

as Plaintiffs try to sweep their claims into an “across the board” analysis, these facts are core to

each of their claims, which is why courts have required this kind of information to be incorporated

into Plaintiffs’ complaint rather than force Cigna to chase a moving target through the course of

discovery. (See id. at 6-8 (citing cases).)

       That is why Chief Judge Moore rejected the very same arguments levied by Plaintiffs here

when he required the plaintiff hospitals in the North Shore case to identify each insurance claim

they disputed as part of their complaint, finding “unpersuasive” Plaintiffs’ charge that Cigna is

“attempt[ing] to freeze the contents of the claims set” given that “[a]t a minimum, Plaintiffs can

provide additional factual support for the more than 500 separate patient encounters” involved

there.2 N. Shore Med. Ctr., Inc. v. Cigna Health & Life Ins. Co., 2021 WL 3419356, at *4 (S.D.

Fla. May 10, 2021). The very case that Plaintiffs rely on—National Laboratories, LLC v. United

Healthcare Group, Inc., 2018 WL 11260511 (S.D. Fla. Apr. 4, 2018)—supports this result. There,



2
   This reasoning applies all the more to the thousands of patient encounters allegedly involved
here. Moreover, Plaintiffs’ concern that allowing claims to “accrue during the pendency of the
litigation” will result in a “never-ending cycle of trips to the courthouse” is unfounded. (Opp. at
7.) A judgment will guide the parties on how to handle future claims. If the parties cannot resolve
disputes on unasserted claims outside of court, then the parties can engage in separate litigation
related to these separate claims. But Cigna should not have to defend against claims Plaintiffs may
add without the benefit of the timely exchange of discovery.

                                                 2
Case 2:21-cv-02308-JTF-atc Document 54 Filed 10/05/21 Page 4 of 13                       PageID 331




the provider-plaintiffs provided spreadsheets from the beginning that identified “each unprocessed

claim by . . . the patient’s name, date of birth, service date, service provider, and balance due.” Id.

at *2.

         Plaintiffs argue that the authorities cited by Cigna are inapposite because they involve

adverse benefit determinations (i.e. denials) on individual claims, while Plaintiffs here allegedly

challenge systematic underpayments across all claims. (Opp. at 5-6.) But while Plaintiffs claim

that this case only concerns the “rate of payment” rather than the “right to payment,” Cigna cannot

verify whether that assertion is true without claim-level information. (Br. at 8.) Indeed, Plaintiffs

now openly concede that their claims apparently do include “fully or partially denied claims for

reimbursement.” (D.E. 44, Joint Rule 26(f) Discovery Plan at 2 (offering to “carve out” such

claims).) These conflicting representations underscore why Plaintiffs must provide a list of the

specific claims at issue with their pleading—particularly since determining which claims or

portion of claims were covered or denied involves interpretation of plan terms, and Cigna and the

Court must know, at a minimum, which claims are subject to plans governed by ERISA. (Br. at

7-8; see RMP Enters., LLC v. Conn. Gen. Life Ins. Co., 2018 WL 6110998, at *8 (S.D. Fla. Nov.

21, 2018) (specifically requiring claim-level information for adjudication of both the ERISA

claims as well as the contract and implied-contract theories).)

         Finally, Plaintiffs’ attempt to cabin North Shore—which was dismissed in the first instance

based in part on plaintiffs’ failure to provide claim-level detail—as an outlier is unavailing. (Opp.

at 6-7 n.6.) Plaintiffs point to Florida Emergency Physicians Kang & Assocs., M.D., Inc. v. United

Healthcare of Florida, Inc., 2021 WL 2525262 (S.D. Fla. Mar. 16, 2021), but as Chief Judge

Moore found, Kang is unpersuasive where, as here, there are potential disputes about what claims

or portions of claims are covered by the applicable plans. N. Shore, 2021 WL 3419356, at *4.




                                                  3
Case 2:21-cv-02308-JTF-atc Document 54 Filed 10/05/21 Page 5 of 13                    PageID 332




II.   ERISA PREEMPTS PLAINTIFFS’ CLAIMS INVOLVING SELF-FUNDED PLANS.

      Most of Cigna’s business consists of administering ERISA plans on behalf of employers,

who have no legal obligation to pay Plaintiffs anything beyond what is called for under the terms

of their ERISA plans, notwithstanding state laws to the contrary. Courts from the Supreme Court

down have for decades found that plaintiffs cannot pursue state common law claims that would

require the Court to rewrite the terms of an ERISA plan, like Plaintiffs seek to do here. Hence, a

state-law claim is preempted if it “relate[s] to” an employee benefit plan—that is, if it “has a

reference to” or “an impermissible connection with ERISA plans.” Gobeille v. Liberty Mut. Ins.

Co., 577 U.S. 312, 319-20 (2016). As discussed above, Cigna must first determine whether the

claims asserted involved any valid denials and then it must determine whether the covered services

were properly reimbursed in accordance with the specific plan terms. For plans governed by

ERISA, those determinations will require interpretation of plan terms and therefore “relate to” the

plans, so those claims are preempted. Cole v. Am. Specialty Health Network, Inc., 2015 WL

1734926, at *3 (M.D. Tenn. Apr. 16, 2015) (finding state law claims preempted because “[t]hrough

these claims, Plaintiffs seek reimbursement for allegedly unpaid or underpaid benefits, which

would require the Court to interpret the terms of Cigna’s plans to determine whether additional

payments were warranted”); see also Br. at 11-12 (citing additional cases).

       Plaintiffs try to rewrite this bedrock ERISA framework through a misreading of Rutledge

v. Pharmaceutical Care Management Association, 141 S. Ct. 474 (2020). That case concerned an

Arkansas regulation that set a floor on reimbursement rates between pharmacy benefit managers

(PBMs) and pharmacies. Id. at 483. PBMs are intermediaries that negotiate rates with pharmacies

and reimburse them on behalf of benefit plans. Plans then reimburse PBMs at higher rates to

compensate the PBMs for their negotiation services. The Court found that ERISA did not preempt




                                                4
Case 2:21-cv-02308-JTF-atc Document 54 Filed 10/05/21 Page 6 of 13                    PageID 333




the state regulation because the regulation merely increased the costs that ultimately accrue to

plans through an intermediary, which is an insufficiently close “connection with” ERISA plans to

trigger ERISA preemption. Id. at 480. But the Court distinguished the Arkansas regulation from

laws “requiring payment of specific benefits” under an ERISA plan, which the Court expressly

stated remain preempted. Id. Indeed, ERISA has never allowed providers to pursue a state

common law remedy as an alternate enforcement mechanism, and the ten-page opinion in Rutledge

did not somehow implicitly overrule decades of precedent.

       Instead, Rutledge simply built upon the well-established framework that ERISA does not

preempt laws that only indirectly affect plan costs. For example, in New York State Conference

of Blue Cross & Blue Shield Plans v. Travelers Insurance Co., 514 U.S. 645 (1995)—another case

Plaintiffs rely on (see Opp. at 8)—the Court held that hospital surcharges of up to 13% on hospital

billing rates for patients covered by insurers other than Blue Cross/Blue Shield were simply

additional costs that had only an “indirect economic influence” and did not “bind plan

administrators to any particular choice,” likening those surcharges to quality standards or

regulation of employment conditions, both of which could similarly increase the plans’ cost but

which would not be preempted. Id. at 659-61. So too was the case in Rutledge, where the Court

reiterated that the only impact on the plans is that the PBMs “may” pass along the higher costs

from Arkansas’s rate regulations to the plans. See Rutledge, 141 S. Ct. at 481-482.

       That is very different from Plaintiffs’ state common law claims here, which act directly on

the plans themselves. Although Plaintiffs argue that Cigna is an intermediary (like the PBMs in

Rutledge) that may “pass along” the costs associated with higher reimbursements to plan, that is

not the case for the “Self-Funded Plans” described in Plaintiffs’ complaint. (See Compl. ¶ 1 &

n.1.) To the contrary, courts recognize that for self-funded plans, Cigna is not financially




                                                5
Case 2:21-cv-02308-JTF-atc Document 54 Filed 10/05/21 Page 7 of 13                      PageID 334




responsible for funding self-funded benefits; it merely administers the plan benefits and pays

providers directly from the plans’ bank accounts. See Gobeille, 577 U.S. at 317 (“The Plan is self-

insured and self-funded, which means that Plan benefits are paid by [the Plan].”); Henretta v.

Chrysler Motors Corp., 977 F.2d 595 (10th Cir. 1992) (“A self-funded plan pays all benefits

itself.”). In other words, Cigna does not pass along any additional costs—the Self-Funded Plans

themselves directly pay any increases to Plaintiffs’ reimbursement.

       This is a crucial distinction. Unlike in Rutledge, where PBM intermediary costs may

indirectly lead to increased costs on the ERISA plan, Plaintiffs’ claims here attempt to supplant

the written ERISA plan terms for out-of-network benefits coverage and reimbursement with new

terms based on Tennessee common law that Plaintiffs contend impose some “reasonable value”

for their emergency services, which Plaintiffs suggest constitutes 75% of their billed charges.

(Opp. at 20; Compl. ¶ 63.) But “payment of benefits” is a “central matter of plan administration,”

Egelhoff v. Egelhoff ex rel. Breiner, 532 U.S. 141, 148 (2001), and obligations undertaken with

plan administration include “calculating benefit levels [and] making disbursements.” Fort Halifax

Packing Co. v. Coyne, 482 U.S. 1, 9 (1987); see also Rutledge, 141 S. Ct. at 480 (“ERISA is . . .

primarily concerned with pre-empting laws that require providers to structure benefit plans in

particular ways, such as by requiring payment of specific benefits.”). The purported common

law requirements that Plaintiffs assert do exactly that, replacing plan terms for benefits for out-of-

network emergency services and requiring different, specific benefits to be paid to providers. (See

Br. at 10-11.) This directly affects the administration of ERISA plans, and thus ERISA preempts

Plaintiffs’ claims.3 See Gobeille, 577 U.S. at 319-20 (2016) (finding that state-law claims are



3
 Plaintiffs’ reliance on Glastein v. Aetna, Inc., 2018 WL 4562467, at *3 (D.N.J. Sept. 24, 2018)—
an unpublished, out of circuit case—is unavailing. There, the plaintiff alleged that the insurer had
pre-authorized the services, so there was no dispute that the provider’s services were covered and

                                                  6
Case 2:21-cv-02308-JTF-atc Document 54 Filed 10/05/21 Page 8 of 13                       PageID 335




preempted when they “govern[] . . . a central matter of plan administration”).4

III.   PLAINTIFFS’ CLAIMS FOR UNJUST ENRICHMENT (COUNT I) AND
       QUANTUM MERUIT (COUNT II) FAIL.

       Cigna’s motion sets out three separate reasons why Plaintiffs’ unjust enrichment and

quantum meruit claims fail: (i) the statutory requirements at issue do not create an implied-in-law

contractual relationship; (ii) Plaintiffs’ medical services to insureds do not directly benefit Cigna;

and (iii) Plaintiffs do not plead any facts to show that it would be inequitable to retain any benefit

it allegedly received for non-emergency claims. (Br. at 12-15 (citing HCA Health Servs. of Tenn.,

Inc. v. Bluecross Blueshield of Tenn., Inc., 2016 WL 3357180 (Tenn. Ct. App. June 9, 2016)).)

       Plaintiffs cannot brush aside squarely applicable Tennessee case law on all three fronts by

castigating HCA as an “unpublished decision from a Tennessee intermediate appellate court” and

therefore merely “persuasive”—particularly when they instead rely on a decision from the same

court from fourteen years earlier. (See Opp. at 14-15 (citing River Park Hospital, Inc. v.

BlueCross BlueShield of Tennessee, Inc., 173 S.W.3d 43 (Tenn. Ct. App. 2002)). But whether

“reported” or “persuasive” or just “the law,” HCA is directly-on-point precedent. And HCA is

fatal to Plaintiffs’ arguments, as it definitively held that the statutory obligations for hospitals to

provide emergency medical treatment and for insurers to provide coverage for that treatment do

not create conferral of a benefit from hospital to insurer for the purpose of unjust enrichment



plan interpretation was not required. Moreover, Glastein itself recognized that its decision was
inconsistent with Sixth Circuit precedent, which reached the opposite result and is controlling
here. Id. at n. 4 (citing Cromwell v. Equicor-Equitable HCA Corp., 933 F.2d 1272 (6th Cir. 1991)).
4
  Consistent with those principles, post-Rutledge cases continue to find preemption in similar
contexts. See Gotham City Orthopedics, LLC v. Aetna Inc., 2021 WL 1541069, at *2 (D.N.J. Apr.
19, 2021) (“Courts routinely hold that when a party challenges the denial of ERISA benefits, but
restyles those claims as common-law causes of action . . . those claims are preempted”); Fast
Access Specialty Therapeutics, LLC v. UnitedHealth Grp., Inc., 2021 WL 1238869, at *14 (S.D.
Cal. Apr. 2, 2021) (finding common law claims preempted, explaining that “[g]iven that the instant
case does not involve a state regulation, it is not clear how Rutledge applies”).

                                                  7
Case 2:21-cv-02308-JTF-atc Document 54 Filed 10/05/21 Page 9 of 13                     PageID 336




claims. 2016 WL 3357180, at *12. As the HCA court explained, hospitals provide emergency

services to patients, and they are the ones obligated to reimburse hospitals for those services. Id.

       Moreover, HCA specifically considered—and rejected—River Park for the same reasons

that apply here: the provider-plaintiffs in HCA were free to recoup any further reimbursement from

their patients, while in River Park, that was not possible because plans were part of the state

Medicaid program. Id. at *10 (“significantly, and as distinguished from River Park, in this case

HCA can seek payment directly from the patients it has treated, with the amount it may have

received from BCBST operating to reduce the amount for which the patient is responsible”).

Despite Tennessee courts having already ruled on the exact issue presented here, Plaintiffs would

have this Court ignore settled law and take the opposite position, claiming that HCA’s “attempt to

distinguish River Park is utterly unconvincing” and suggesting that HCA was somehow the

minority position. (Opp. at 15-16 & n.13.) It is not, and courts across the country have dismissed

these claims time and again based on the same reasoning.5

       The balance of Plaintiffs’ arguments is similarly unconvincing. Plaintiffs argue that the

Restatement (Third) of Restitution states that hospitals can recover reimbursement for emergency




5
  See, e.g., Emergency Dep't Physicians P.C. v. United Healthcare, Inc., 507 F. Supp. 3d 814, 830
(E.D. Mich. 2020) (noting that courts have allowed these claims, "[b]ut in those cases, the
healthcare providers could only bill the insurers—not the patients—under state law.”); Adventist
Health Sys./Sunbelt Inc. v. Med. Sav. Ins. Co., 2004 WL 6225293, at *6 (M.D. Fla. Mar. 8, 2004)
(“as a matter of commonsense, the benefits of healthcare treatment flow to patients, not insurance
companies”); Travelers Indem. Co. of Conn. v. Losco Grp., Inc., 150 F. Supp. 2d 556, 563
(S.D.N.Y. 2001) (finding medical services as benefits provided to insurers to be
“counterintuitive”); Broad St. Surgical Ctr., LLC v. UnitedHealth Grp., Inc., 2012 WL 762498, at
*8 (D.N.J. Mar. 6, 2012) (quoting Travelers); Encompass Off. Sols., Inc. v. Ingenix, Inc., 775 F.
Supp. 2d 938, 966 (E.D. Tex. 2011) (explaining that even if insurer received a benefit, “a
proposition the court finds dubious, [providers’s] services were rendered to and for its patients,
not United”); Air Evac EMS Inc. v. USAble Mut. Ins. Co., 2018 WL 2422314, at *9 (E.D. Ark.
May 29, 2018), aff'd, 931 F.3d 647 (8th Cir. 2019); Hialeah Physicians Care, LLC v. Conn. Gen.
Life Ins. Co., 2013 WL 3810617, at *4 (S.D. Fla. July 22, 2013).

                                                 8
Case 2:21-cv-02308-JTF-atc Document 54 Filed 10/05/21 Page 10 of 13                      PageID 337




 medical services from “the recipient of services, a successor, or a representative,” (Opp. at 17),

 but Cigna is none of those. Plaintiffs then claim that when hospitals provide treatment, they are

 discharging a duty of insurers, and therefore entitled to restitution. (Id.) But Cigna has no duty

 to provide treatment, so providers cannot discharge that duty on Cigna’s behalf. Plaintiffs also

 misleadingly suggest that Cigna “acknowledges” that it is contractually obligated to hold its

 members harmless from balance bills, (id. at 19), but Cigna was clear that Plaintiffs made that

 allegation (Br. at 15 (citing Compl. ¶¶ 29, 53, 60)), and that in any case, whether Cigna had a

 contractual obligation to make a plan member whole for a balance bill is irrelevant to whether

 Plaintiffs can balance bill the member in the first place. (Id.)

 IV.    PLAINTIFFS’ IMPLIED-IN-FACT CONTRACT CLAIM (COUNT III) FAILS.

        Plaintiffs argue that an implied contract arose between Plaintiffs and Cigna based on certain

 statutory requirements and the parties’ course of dealing. (Opp. at 20.) Both theories should be

 rejected. First, Plaintiffs misstate federal and state law, claiming that both require Cigna to

 “reimburse the Hospitals for the reasonable value of the services the Hospitals provided.” (Id.)

 But as explained in Cigna’s opening brief, the statutes Plaintiffs rely on—45 C.F.R. §

 147.138(b)(3) and Tenn. Code. § 56-7-2355(b)(4)—only require Cigna to provide coverage for

 emergency services to its members, not to Plaintiffs. (Br. at 16-17.) Second, Plaintiffs argue that

 the parties’ prior expired contract, under which Cigna allegedly agreed to pay 75% of hospitals’

 billed charges, amounts to a “course of dealing” requiring Cigna to continue to pay that rate. (Opp.

 at 20.) But Plaintiffs’ own case, River Park, recognized that an expired contract cannot amount to

 an implied contract. 173 S.W.3d at 58; see also Air Evac EMS Inc, 2018 WL 2422314, at *8 (“the

 weight of the authority cuts against finding implied contracts between insurers and healthcare

 providers, even if the parties had a prior course of dealing”). As the court in North Shore explained




                                                   9
Case 2:21-cv-02308-JTF-atc Document 54 Filed 10/05/21 Page 11 of 13                      PageID 338




 when rejecting the same course of dealing arguments, if expired contracts could be relied upon,

 “then presumably any term of the expired contract could continue to apply[,] and Plaintiffs could

 . . . receiv[e] the full benefit of the bargain of the expired contract to Cigna’s detriment.” 2021

 WL 3419356, at *6. The Court should reject Plaintiffs’ breach of implied-in-fact contract claim

 here too.

V.      PLAINTIFFS’ REQUEST FOR DECLARATORY JUDGMENT                                      (WITHIN
        COUNTS I AND II) SHOULD BE DISMISSED.

        Plaintiffs argue that they are not requesting a declaration of the specific fair market value

 for each claim, but rather a declaration of the basic methodology for determining fair market value.

 (Opp. at 22.) But as North Shore explained on this exact issue, this is an “inherently overbroad

 request” because determining fair market value requires a “fact-intensive, case-by-case assessment

 to include the types of services provided and patient-specific factors such as age, medical

 diagnosis, and treatment history.” 2021 WL 3419356, at *7. Plaintiffs also argue that dismissal

 of the prayer for declaratory judgment would be premature. (Opp. at 23.) Not so. Courts are clear

 that declaratory judgment requests should be dismissed at the Rule 12 stage where Plaintiffs “do[]

 not request any specific declarations as to any specific rights or obligations.” GVB MD v. Aetna

 Health Inc., 2019 WL 6130825, at *11 (S.D. Fla. Nov. 19, 2019); Douglas v. Green, 327 F.2d 661,

 662 (6th Cir. 1964) (affirming dismissal of declaratory judgment action where Appellant failed to

 provide a “specific statement” of the remedy sought). Plaintiffs’ own opposition confirms that is

 the case here, and their request for declaratory judgment should be dismissed.

                                          CONCLUSION

        For the foregoing reasons, Cigna respectfully requests that this Court dismiss Plaintiffs’

 complaint in its entirety or, alternatively, order that Plaintiffs provide a more definite statement,

 together with such further relief as the Court deems just and proper.



                                                  10
Case 2:21-cv-02308-JTF-atc Document 54 Filed 10/05/21 Page 12 of 13        PageID 339




 Dated: October 5, 2021             BUTLER SNOW LLP

                              By:    /s/Andre B. Mathis
                                    Andre B. Mathis (#26458)
                                    andre.mathis@butlersnow.com
                                    6075 Poplar Ave, Suite 500
                                    Memphis, TN 38119
                                    T: 901.680.7299 | F: 901.680.7201

                                    MCDERMOTT WILL & EMERY LLP
                                    Joshua Simon (admitted pro hac vice)
                                    jsimon@mwe.com
                                    Warren Haskel (admitted pro hac vice)
                                    whaskel@mwe.com
                                    Dmitriy Tishyevich (admitted pro hac vice)
                                    dtishyevich@mwe.com
                                    Halle Landsman (admitted pro hac vice)
                                    hlandsman@mwe.com
                                    One Vanderbilt Ave
                                    New York, NY 10017
                                    T: 212.547.5533 | F: 646.390.2958

                                    Counsel for Defendant Cigna Health and Life
                                    Insurance Company




                                      11
Case 2:21-cv-02308-JTF-atc Document 54 Filed 10/05/21 Page 13 of 13               PageID 340




                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on October 5, 2021 a copy of the foregoing was electronically

 filed with the Clerk of Court by using the Court’s CM/ECF system, which will send a Notice of

 Electronic Filing to the parties listed on the Service List below:

                                                       /s/Andre B. Mathis
                                                       Andre B. Mathis

                                          SERVICE LIST

  J. Black Carter
  blake@getclawfirm.com
  Chris J. Tardio
  chris@getclawfirm.com
  GIDEO, ESSARY, TARDIO & CARTER, PLC
  315 Deaderick Street, Suite 110
  Nashville, TN 37238
  Telephone: 616.254.0400

  Alan D. Lash
  alash@lashgoldberg.com
  Justin C. Fineberg
  jfineberg@lashgoldberg.com
  Greg J. Weintraub
  gweintraub@lashgoldberg.com
  Emily L. Pincow
  epincow@lashgoldberg.com
  Justin C. Fineberg
  jfineberg@lashgoldberg.com
  Jonathan E. Siegelaub
  jsiegelaub@lashgoldberg.com
  William E. Baldwin
  wbaldwin@lashgoldberg.com
  Ashley P. Singrossi
  asingrossi@lashgoldberg.com
  LASH & GOLDBERG LLP
  Miami Tower
  100 S.E. 2nd Street, Suite 1200
  Miami, FL 33131
  Telephone: 305.347.4040
  Facsimile: 305.347.4050

  Counsel for Plaintiffs
 61495757.v1



                                                  12
